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Entry
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 No.
 1      5/28/2020        C06890218     Internal Agency Emails Regarding Task Force. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 9/27/2016         1           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                       (b)(3) CIA Act,
                                       personnel, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of                                                  (b)(3) NatSecAct,
                                       CIA personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                       (b)(6)
                                       unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the names and/or
                                       other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure of this
                                       information could be reasonably expected to result in damage to national security.
 2      5/28/2020        C06890219     Inter‐Agency Emails Regarding Task Force. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    9/21/2016         3           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                       (b)(3) CIA Act,
                                       personnel, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of                                                  (b)(3) NatSecAct,
                                       CIA personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                       (b)(6)
                                       unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the names and/or
                                       other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as TOP SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in exceptionally grave damage to national security.
 3      5/28/2020        C06890220     Internal Agency Email and Inter‐Agency Email Regarding Task Force. Exemption (b)(1) and (b)(3) (National                9/20/2016   2           DIF                (b)(1),
                                       Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources                                            (b)(3) CIA Act,
                                       and methods (covert personnel, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to protect                                                         (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names, email addresses, telephone numbers). Exemption (b)(3)                                                             (b)(6)
                                       (National Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       TOP SECRET, and as such, disclosure of this information could be reasonably expected to result in exceptionally
                                       grave damage to national security.
 4      5/28/2020        C06890221     Internal Agency Email Regarding Task Force. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 10/4/2016          1           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                       (b)(3) CIA Act,
                                       personnel, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of                                                  (b)(3) NatSecAct,
                                       CIA personnel (names, email addresses, telephone numbers). Exemption (b)(3) (National Security Act) was also                                                       (b)(6)
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the
                                       names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.
 5      5/28/2020        C06890222     Inter‐Agency Email Regarding Task Force. Exemption (b)(3) (CIA Act) was asserted to protect identifying       10/18/2016            3           DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names, email addresses, telephone numbers). Exemption (b)(3) (National Security                                                      (b)(3) NatSecAct,
                                       Act) was invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to                                                       (b)(6)
                                       protect the names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated.




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Entry
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 No.
 6      5/28/2020        C06902368     Internal Agency Document Regarding Task Force. Exemption (b)(1) and (b)(3) (National Security Act) apply to          Unknown   1            DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                           (b)(3) CIA Act,
                                       personnel, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of                                              (b)(3) NatSecAct,
                                       CIA personnel (names, titles). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                               (b)(6)
                                       intelligences sources and methods. Exemption (b)(6) was asserted to protect the names and/or other personal
                                       information of Agency personnel. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as SECRET, and as such, disclosure of this information could be
                                       reasonably expected to result in serious damage to national security.
 7      6/18/2020        C06615167     Internal Agency E‐Mail Concerning Inventory. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 3/13/2013    8            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                   (b)(3) CIA Act,
                                       personnel, identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was                                                       (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names, phone numbers). Exemption (b)(3)                                                          (b)(5),
                                       (National Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption                                                  (b)(6),
                                       (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to next steps in the investigation                                            (b)(7)(C)
                                       as well as attorney work product. Exemption (b)(6) was asserted to protect the names and/or other personal
                                       information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency employees
                                       involved in the investigation. The CIA conducted a line‐by‐line review of this document to determine whether
                                       meaningful, reasonably segregable, non‐exempt portions of the document could be released. This document is
                                       withheld in full because there is no meaningful, non‐exempt information that can be reasonably segregated. This
                                       document is properly classified as SECRET, and as such, disclosure of this information could be reasonably
                                       expected to result in serious damage to national security.
 8      6/18/2020        C06615172     Internal Agency E‐Mail Concerning Investigation with FBI. Exemption (b)(1) and (b)(3) (National Security Act)       6/7/2013   4            DIF                (b)(1),
                                       apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                                  (b)(3) CIA Act,
                                       methods (code names). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                        (b)(3) NatSecAct,
                                       personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                         (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                 (b)(6),
                                       agency deliberations related to next steps in the investigation as well as attorney work product. Exemption (b)(6)                                             (b)(7)(C)
                                       was asserted to protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C)
                                       was asserted to protect the names of Agency employees involved in the investigation. The CIA conducted a line‐
                                       by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions
                                       of the document could be released. This document is withheld in full because there is no meaningful, non‐
                                       exempt information that can be reasonably segregated. This document is properly classified as SECRET, and as
                                       such, disclosure of this information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 9      6/18/2020        C06615173     Internal Agency E‐Mail Concerning Request from FBI. Exemption (b)(1) and (b)(3) (National Security Act) apply to 7/26/2013     1           DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (code                                            (b)(3) CIA Act,
                                       names). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                   (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                               (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(6),
                                       to next steps in the investigation as well as attorney work product. Exemption (b)(6) was asserted to protect the                                             (b)(7)(C)
                                       names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees involved in the investigation. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.



 10     6/18/2020        C06615195     Internal Inter‐Agency E‐Mail Concerning Investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply 9/23/2013     5           DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                               (b)(3) CIA Act,
                                       (code names). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                                     (b)(3) NatSecAct,
                                       (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                     (b)(5),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                       (b)(6),
                                       deliberations related to next steps in the investigation as well as attorney work product. Exemption (b)(6) was                                               (b)(7)(C)
                                       asserted to protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was
                                       asserted to protect the names of Agency employees involved in the investigation. The CIA conducted a line‐by‐
                                       line review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of
                                       the document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.



 11     6/18/2020        C06615196     Internal Agency E‐Mail Concerning Investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to      11/5/2013   2           DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (code                                            (b)(3) CIA Act,
                                       names). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                   (b)(3) NatSecAct,
                                       email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                             (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(6)
                                       to next steps in the investigation as well as attorney work product. Exemption (b)(6) was asserted to protect the
                                       names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                          Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 12     6/18/2020        C06615198     Internal Agency E‐Mail Concerning Investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to        7/26/2013     2            DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (code                                                 (b)(3) CIA Act,
                                       names). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                        (b)(3) NatSecAct,
                                       email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                                  (b)(6)
                                       sources and methods. Exemption (b)(6) was asserted to protect the names and/or other personal information of
                                       Agency personnel. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


 13     6/18/2020        C06615199     Internal Agency E‐Mail with FBI. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that 7/8/2013       4            DIF                (b)(1),
                                       is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (code names). Exemption                                                     (b)(3) CIA Act,
                                       (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, phone numbers).                                                          (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                        (b)(6)
                                       methods. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.
 14     6/18/2020        C06615203     Internal Inter‐Agency E‐Mail Concerning Investigation with FBI and DOJ. Exemption (b)(1) and (b)(3) (National           2/5/2014   5            DIF                (b)(1),
                                       Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources                                            (b)(3) CIA Act,
                                       and methods (code names, identifying information regarding Agency information systems). Exemption (b)(3)                                                           (b)(3) NatSecAct,
                                       (CIA Act) was asserted to protect identifying information of CIA personnel (names, email addresses). Exemption                                                     (b)(5),
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                         (b)(6),
                                       Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to next steps in the                                                    (b)(7)(C)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal informoation of Agency
                                       personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.

 15     6/18/2020        C06615205     Internal Agency E‐Mail concerning Investigation with DOJ. Exemption (b)(1) and (b)(3) (National Security Act)     5/26/2015        6            DIF                (b)(1),
                                       apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                                      (b)(3) CIA Act,
                                       methods (intelligence activity and code names). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                     (b)(3) NatSecAct,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐decisional                                                       (b)(5),
                                       intra‐agency deliberations related to next steps in the investigation as well as attorney work product. Exemption                                                  (b)(6),
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel. Exemption                                                          (b)(7)(C)
                                       (b)(7)(C) was asserted to protect the names of Agency employees involved in the investigation. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       SECRET, and as such, disclosure of this information could be reasonably expected to result in serious damage to
                                       national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                        Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 16     6/18/2020        C06615206     Internal Inter‐Agency E‐Mail concerning Investigation with DOJ. Exemption (b)(1) and (b)(3) (National Security     2/12/2015      19          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                               (b)(3) CIA Act,
                                       methods (covert personnel, covert facilities, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to                                                (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security                                                   (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                   (b)(6)
                                       to protect pre‐decisional intra‐agency deliberations related to next steps in the investigation. Exemption (b)(6)
                                       was asserted to protect the names and/or other personal informaiton of Agency personnel. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.
 17     6/18/2020        C06615207     Internal Agency E‐Mail concerning Investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to         2/12/2015   3           DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                             (b)(3) CIA Act,
                                       personnel, covert facilities, intelligence activites). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                            (b)(3) NatSecAct,
                                       information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also                                                         (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                                 (b)(6)
                                       decisional intra‐agency deliberations related to next steps in the investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.


 18     6/18/2020        C06615208     Internal Agency E‐Mail Concerning Request from DOJ. Exemption (b)(1) and (b)(3) (National Security Act) apply 5/14/2014           2           DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                  (b)(3) CIA Act,
                                       (covert personnel, code names, covert locations). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                 (b)(3) NatSecAct,
                                       information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect                                                       (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                   (b)(6),
                                       agency deliberations related to next steps in the investigation as well as attorney work product. Exemption (b)(6)                                               (b)(7)(C)
                                       was asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 19     6/18/2020        C06615210     Internal Agency E‐Mail Concerning Investigation with DOJ. Exemption (b)(1) and (b)(3) (National Security Act)        1/15/2015   3           DIF                (b)(1),
                                       apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                                   (b)(3) CIA Act,
                                       methods (intelligence activity). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                              (b)(3) NatSecAct,
                                       personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                          (b)(5),
                                       deliberations related to next steps in the investigation as well as attorney work product. Exemption (b)(6) was                                                 (b)(6),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                       (b)(7)(C)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


 20     6/18/2020        C06615213     Internal Agency E‐Mail Concerning Document Request. Exemption (b)(1) and (b)(3) (National Security Act) apply      2/9/2015      2           DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                 (b)(3) CIA Act,
                                       (covert personnel, code names). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of                                                   (b)(3) NatSecAct,
                                       CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                        (b)(5),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                         (b)(6),
                                       deliberations related to the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                     (b)(7)(C)
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees and private citizens involved in the investigation. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.



 21     6/18/2020        C06615216     Internal Agency Forensic Report. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material       6/17/2012   6           DIF                (b)(1),
                                       that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying information                                            (b)(3) CIA Act,
                                       regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                           (b)(3) NatSecAct,
                                       information of CIA personnel (phone numbers, email addresses). Exemption (b)(3) (National Security Act) was
                                       also invoked to protect unclassified intelligences sources and methods. The CIA conducted a line‐by‐line review
                                       of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as TOP SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in exceptionally grave damage to national
                                       security.
 22     6/18/2020        C06615220     Internal OIG document related to investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to    12/14/2012       7           DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                    (b)(3) CIA Act,
                                       (identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                      (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also                                                     (b)(6),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the                                                 (b)(7)(E)
                                       names and/or other personal information of Agency personnel. Exemption (b)(7)(E) was asserted to protect
                                       investigation techniques and procedures used by the CIA Office of the Inspector General. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.




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 No.
 23     6/18/2020        C06615222     Internal OIG document related to investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to       12/14/2012     1           DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                     (b)(3) CIA Act,
                                       (identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                       (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also                                                      (b)(6)
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the
                                       names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.
 24     6/18/2020        C06615228     Draft of internal general risk assessment. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    Unknown        20          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                                (b)(3) CIA Act,
                                       information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect                                                            (b)(3) NatSecAct,
                                       identifying information of CIA personnel (functions). Exemption (b)(3) (National Security Act) was also invoked to                                               (b)(5)
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional
                                       intra‐agency deliberations related to next steps in the investigation related to mitigating certain risks. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       TOP SECRET, and as such, disclosure of this information could be reasonably expected to result in exceptionally
                                       grave damage to national security.
 25     6/18/2020        C06615230     Office of Inspector General (OIG) Investigation Staff Case Progress Review. Exemption (b)(3) (CIA Act) was       3/20/2013        2           DIF                (b)(3) CIA Act,
                                       asserted to protect identifying information of CIA personnel (names and telephone numbers). Exemption (b)(5)                                                     (b)(5),
                                       was asserted to protect pre‐decisional intra‐agency deliberations related to next steps in coordinating with the                                                 (b)(6),
                                       FBI’s investigation. Exemption (b)(6) was asserted to protect the names of Agency employees. Exemption                                                           (b)(7)(C)
                                       (b)(7)(C) was asserted to protect the names of Agency employees involved in the investigation. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated.


 26     6/18/2020        C06615231     OIG Case Progress Review. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is       4/23/2013   2           DIF                (b)(1),
                                       classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert locations). Exemption                                                (b)(3) CIA Act,
                                       (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3)                                                      (b)(3) NatSecAct,
                                       (National Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption                                                    (b)(5),
                                       (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to next steps in assisting the FBI’s                                            (b)(6),
                                       investigation. Exemption (b)(6) was asserted to protect the names of Agency employees. Exemption (b)(7)(C)                                                       (b)(7)(C)
                                       was asserted to protect the names of Agency employees involved in the investigation. The CIA conducted a line‐
                                       by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions
                                       of the document could be released. This document is withheld in full because there is no meaningful, non‐
                                       exempt information that can be reasonably segregated. This document is properly classified as SECRET, and as
                                       such, disclosure of this information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 27     6/18/2020        C06615232     Draft OIG Case Progress Review. Exemption (b)(3) (CIA Act) was asserted to protect identifying information of     Unknown        2          DIF                (b)(3) CIA Act,
                                       CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations                                                      (b)(5),
                                       related to coordinating with FBI’s investigation. Exemption (b)(6) was asserted to protect the names of Agency                                                 (b)(6),
                                       employees. Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the                                                           (b)(7)(C)
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated.

 28     6/18/2020        C06615236     OIG Case Progress Review. Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA         6/24/2014    2          DIF                (b)(3) CIA Act,
                                       personnel (names and telephone numbers). Exemption (b)(5) was asserted to protect pre‐ decisional intra‐                                                       (b)(5),
                                       agency deliberations related to next steps in assisting with the FBI’s investigation. Exemption (b)(6) was asserted                                            (b)(6),
                                       to protect the names of Agency employees. Exemption (b)(7)(C) was asserted to protect the names of Agency                                                      (b)(7)(C)
                                       employees involved in the investigation. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated.

 29     6/18/2020        C06615241     Internal OIG document related to investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to        11/15/2012   2          DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                   (b)(3) CIA Act,
                                       (identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                     (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also                                                    (b)(6),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the                                                (b)(7)(C),
                                       names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the                                                   (b)(7)(D),
                                       names of Agency employees involved in the investigation. Exemption (b)(7)(D) was also asserted to protect                                                      (b)(7)(E)
                                       identifying information of, and information provided by individuals related to FBI’s investigation. Exemption
                                       (b)(7)(E) was asserted to protect investigation techniques and procedures used the CIA Office of the Inspector
                                       General. The CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably
                                       segregable, non‐exempt portions of the document could be released. This document is withheld in full because
                                       there is no meaningful, non‐exempt information that can be reasonably segregated. This document is properly
                                       classified as SECRET, and as such, disclosure of this information could be reasonably expected to result in serious
                                       damage to national security.
 30     6/18/2020        C06615243     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/14/2012          2          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                (b)(3) CIA Act,
                                       (information regarding Agency technical capability, names of covert personnel). Exemption (b)(3) (CIA Act) was                                                 (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act)                                                 (b)(6),
                                       was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to                                                   (b)(7)(C),
                                       protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the                                                    (b)(7)(D)
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 31     6/18/2020        C06615246     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/15/2012         2          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods and activities.                                           (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption                                                (b)(3) NatSecAct,
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                    (b)(5),
                                       Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the investigation.                                              (b)(6),
                                       Disclosure would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to                                             (b)(7)(C),
                                       protect the names and/or other personal information of Agency personnel and private citizens. Exemption                                                       (b)(7)(D)
                                       (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.



 32     6/18/2020        C06615247     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/14/2012         4          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods and activities.                                           (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption                                                (b)(3) NatSecAct,
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                    (b)(5),
                                       Exemption (b)(5) was asserted to protect pre‐ decisional intra‐agency deliberations related to the investigation.                                             (b)(6),
                                       Disclosure would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to                                             (b)(7)(C),
                                       protect the names and/or other personal information of Agency personnel and private citizens. Exemption                                                       (b)(7)(D)
                                       (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.



 33     6/18/2020        C06615248     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) (CIA Act) was asserted to protect              11/14/2012   2          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐ decisional intra‐                                             (b)(5),
                                       agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus of                                              (b)(6),
                                       the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of                                                    (b)(7)(C),
                                       Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency                                                        (b)(7)(D)
                                       employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 34     6/18/2020        C06615249     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/14/2012         4          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods and activities.                                           (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, locations).                                               (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                   (b)(5),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                    (b)(6),
                                       investigation. Disclosure would reveal the direction, progress, and focus of the investigation. Exemption (b)(6)                                              (b)(7)(C),
                                       was asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                 (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.



 35     6/18/2020        C06615250     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) (CIA Act) was asserted to protect              11/14/2012   4          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                              (b)(5),
                                       agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus of                                              (b)(6),
                                       the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of                                                    (b)(7)(C),
                                       Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency                                                        (b)(7)(D)
                                       employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated.


 36     6/18/2020        C06615251     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/14/2012         4          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods and activities.                                           (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, locations).                                               (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                   (b)(5),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                    (b)(6),
                                       investigation. Disclosure would reveal the direction, progress, and focus of the investigation. Exemption (b)(6)                                              (b)(7)(C),
                                       was asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                 (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
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 No.
 37     6/18/2020        C06615252     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/15/2012        4          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                              (b)(3) CIA Act,
                                       (including covert personnel and covert locations). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                            (b)(3) NatSecAct,
                                       information of CIA personnel (names, locations). Exemption (b)(3) (National Security Act) was also invoked to                                                (b)(5),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                              (b)(6),
                                       intra‐agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus                                          (b)(7)(C),
                                       of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of                                                (b)(7)(D)
                                       Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       SECRET, and as such, disclosure of this information could be reasonably expected to result in serious damage to
                                       national security.
 38     6/18/2020        C06615253     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/15/2012        7          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                              (b)(3) CIA Act,
                                       (including covert personnel and covert locations). Exemption (b)(3) (National Security Act) was also invoked to                                              (b)(3) NatSecAct,
                                       protect unclassified intelligences sources and methods. Exemption (b)(3) (CIA Act) was asserted to protect                                                   (b)(5),
                                       identifying information of CIA personnel (names, locations). Exemption (b)(5) was asserted to protect pre‐                                                   (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the direction,                                                   (b)(7)(C),
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                    (b)(7)(D)
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also
                                       asserted to protect identifying information of, and information provided by individuals interviewed in the course
                                       of the investigation who were speaking with Agency OIG under an implied promise of confidentiality per Agency
                                       policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably
                                       segregable, non‐exempt portions of the document could be released. This document is withheld in full because
                                       there is no meaningful, non‐exempt information that can be reasonably segregated. This document is properly
                                       classified as SECRET, and as such, disclosure of this information could be reasonably expected to result in serious
                                       damage to national security.


 39     6/18/2020        C06615254     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) (CIA Act) was asserted to protect             11/15/2012   3          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names, locations). Exemption (b)(5) was asserted to protect pre‐                                                   (b)(5),
                                       decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the direction,                                                   (b)(6),
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                    (b)(7)(C),
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the                                               (b)(7)(D)
                                       names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also
                                       asserted to protect identifying information of, and information provided by individuals interviewed in the course
                                       of the investigation who were speaking with Agency OIG under an implied promise of confidentiality per Agency
                                       policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably
                                       segregable, non‐exempt portions of the document could be released. This document is withheld in full because
                                       there is no meaningful, non‐exempt information that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                     Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 40     6/18/2020        C06615255     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/16/2012        2          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                              (b)(3) CIA Act,
                                       (information identifying Agency information security protocols). Exemption (b)(3) (CIA Act) was asserted to                                                  (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security                                                 (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                               (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the                                               (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                               (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




 41     6/18/2020        C06615256     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) (CIA Act) was asserted to protect             11/16/2012   4          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐                                               (b)(5),
                                       decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the direction,                                                   (b)(6),
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                    (b)(7)(C),
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the                                               (b)(7)(D)
                                       names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also
                                       asserted to protect identifying information of, and information provided by individuals interviewed in the course
                                       of the investigation who were speaking with Agency OIG under an implied promise of confidentiality per Agency
                                       policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably
                                       segregable, non‐exempt portions of the document could be released. This document is withheld in full because
                                       there is no meaningful, non‐exempt information that can be reasonably segregated.


 42     6/18/2020        C06615260     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/16/2012        4          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                              (b)(3) CIA Act,
                                       (information regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect                                                      (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was                                                (b)(5),
                                       also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect                                             (b)(6),
                                       pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the direction,                                               (b)(7)(C),
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                    (b)(7)(D)
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also
                                       asserted to protect identifying information of, and information provided by individuals interviewed in the course
                                       of the investigation who were speaking with Agency OIG under an implied promise of confidentiality per Agency
                                       policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably
                                       segregable, non‐exempt portions of the document could be released. This document is withheld in full because
                                       there is no meaningful, non‐exempt information that can be reasonably segregated. This document is properly
                                       classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected to result in
                                       damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 43     6/18/2020        C06615262     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/16/2012          2          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                (b)(3) CIA Act,
                                       (information regarding Agency technical capability and names of covert personnel). Exemption (b)(3) (CIA Act)                                                  (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                  (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                 (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the                                                 (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                 (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




 44     6/18/2020        C06615263     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) (CIA Act) was asserted to protect               11/17/2012   4          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was invoked to                                                      (b)(3) NatSecAct,
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                                (b)(5),
                                       intra‐agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus                                            (b)(6),
                                       of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of                                                  (b)(7)(C),
                                       Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency                                                         (b)(7)(D)
                                       employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated.


 45     6/18/2020        C06615266     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) (CIA Act) was asserted to protect             11/19/2012     4          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐ decisional intra‐                                              (b)(5),
                                       agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus of                                               (b)(6),
                                       the investigation. Exemption (b)(6) was asserted to protect the names o Agency personnel and private citizens.                                                 (b)(7)(C),
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the                                                 (b)(7)(D)
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 46     6/18/2020        C06615267     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3)(CIA Act) was asserted to protect               11/19/2012   4          DIF                (b)(3) CIA Act,
                                       identifying information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐ decisional intra‐                                             (b)(5),
                                       agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus of                                              (b)(6),
                                       the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of                                                    (b)(7)(C),
                                       Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency                                                        (b)(7)(D)
                                       employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated.


 47     6/18/2020        C06615268     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply to 11/19/2012      5          DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                          (b)(3) CIA Act,
                                       locations, identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was                                                      (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act)                                                (b)(5),
                                       was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to                                                  (b)(6),
                                       protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the                                                   (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an expressed promise of
                                       confidentiality. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.

 48     6/18/2020        C06615269     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/19/2012         6          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                               (b)(3) CIA Act,
                                       (information identifying Agency information Security protocols). Exemption (b)(3) (CIA Act) was asserted to                                                   (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names, locations). Exemption (b)(3) (National Security Act) was                                             (b)(5),
                                       also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect                                              (b)(6),
                                       pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the direction,                                                (b)(7)(C),
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                     (b)(7)(D)
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also
                                       asserted to protect identifying information of, and information provided by individuals interviewed in the course
                                       of the investigation who were speaking with Agency OIG under an expressed promise of confidentiality. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       SECRET, and as such, disclosure of this information could be reasonably expected to result in serious damage to
                                       national security.




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Entry
          FOIA Request     CADRE No.                             Description of Document and Information Withheld                                 Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 49     6/18/2020        C06615270     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/20/2012   5          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                         (b)(3) CIA Act,
                                       (identifying information regarding Agency information systems and names of covert personnel). Exemption                                                 (b)(3) NatSecAct,
                                       (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3)                                             (b)(5),
                                       (National Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption                                           (b)(6),
                                       (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure                                       (b)(7)(C),
                                       would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the                                      (b)(7)(D)
                                       names and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was
                                       asserted to protect the names of Agency employees and private citizens involved in the investigation. Exemption
                                       (b)(7)(D) was also asserted to protect identifying information of, and information provided by individuals
                                       interviewed in the course of the investigation who were speaking with Agency OIG under an implied promise of
                                       confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as SECRET, and as such, disclosure of this information could be
                                       reasonably expected to result in serious damage to national security.

 50     6/18/2020        C06615271     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/20/2012   5          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods.                                        (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, core                                                (b)(3) NatSecAct,
                                       functions). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                             (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                         (b)(6),
                                       to the investigation. Disclosure would reveal the direction, progress, and focus of the investigation. Exemption                                        (b)(7)(C),
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private                                              (b)(7)(D)
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as
                                       such, disclosure of this information could be reasonably expected to result in damage to national security.




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 No.
 51     6/18/2020        C06615272     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/20/2012   5          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                         (b)(3) CIA Act,
                                       (identifying information regarding Agency technical capability and names of covert personnel). Exemption (b)(3)                                         (b)(3) NatSecAct,
                                       (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National                                          (b)(5),
                                       Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was                                          (b)(6),
                                       asserted to protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal                                     (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                             (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


 52     6/18/2020        C06615273     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/20/2012   5          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                         (b)(3) CIA Act,
                                       (information regarding Agency technical capability and names of covert personnel). Exemption (b)(3) (CIA Act)                                           (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                           (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                          (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the                                          (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                          (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 53     6/18/2020        C06615274     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/20/2012          6          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                (b)(3) CIA Act,
                                       (information identifying Agency technical capabilities). Exemption (b)(3) (CIA Act) was asserted to protect                                                    (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to                                                 (b)(5),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                                (b)(6),
                                       intra‐agency deliberations related to the investigation. Disclosure would reveal the direction, progress, and focus                                            (b)(7)(C),
                                       of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of                                                  (b)(7)(D)
                                       Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an expressed promise of confidentiality. The CIA conducted a line‐by‐
                                       line review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of
                                       the document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.



 54     6/18/2020        C06615274     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/20/2012          6          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                (b)(3) CIA Act,
                                       (information regarding Agency technical capability and names of covert personnel). Exemption (b)(3) (CIA Act)                                                  (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                  (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                 (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. Disclosure would reveal the                                                 (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                 (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


 55     6/18/2020        C06615278     OIG Memorandum of Investigative Activity. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain      11/29/2012   1          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods (intelligence activities).                                            (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption                                                 (b)(3) NatSecAct,
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                     (b)(6),
                                       Exemption (b)(6) was asserted to protect the names of Agency and non‐Agency federal employees. Exemption                                                       (b)(7)(D)
                                       (b)(7)(D) was also asserted to protect identifying information of, and information provided by individuals related
                                       to FBI’s investigation. The CIA conducted a line‐by‐line review of this document to determine whether
                                       meaningful, reasonably segregable, non‐exempt portions of the document could be released. This document is
                                       withheld in full because there is no meaningful, non‐exempt information that can be reasonably segregated. This
                                       document is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably
                                       expected to result in damage to national security.




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Entry
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 No.
 56     6/18/2020        C06615279     OIG Memorandum of Investigative Activity. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain      11/29/2012   15         DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods (covert personnel,                                                    (b)(3) CIA Act,
                                       identifying information regarding Agency information systems, intelligence activities). Exemption (b)(3) (CIA Act)                                             (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                  (b)(6),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted                                                 (b)(7)(D)
                                       to protect the names of Agency and non‐Agency federal employees. Exemption (b)(7)(D) was also asserted to
                                       protect identifying information of, and information provided by individuals related to FBI’s investigation. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       CONFIDENTIAL and as such, disclosure of this information could be reasonably expected to result in damage to
                                       national security.


 57     6/18/2020        C06615285     OIG Memorandum of Investigative Activity. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain      2/26/2013    45         DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods (covert personnel,                                                    (b)(3) CIA Act,
                                       identifying information regarding Agency information systems, intelligence activities). Exemption (b)(3) (CIA Act)                                             (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                  (b)(6),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted                                                 (b)(7)(E)
                                       to protect the names of Agency and non‐Agency federal employees. Exemption (b)(7)(E) was asserted to protect
                                       investigation techniques and procedures used the CIA Office of the Inspector General. The CIA conducted a line‐
                                       by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions
                                       of the document could be released. This document is withheld in full because there is no meaningful, non‐
                                       exempt information that can be reasonably segregated. This document is properly classified as SECRET, and as
                                       such, disclosure of this information could be reasonably expected to result in serious damage to national security.



 58     6/18/2020        C06615288     OIG Memorandum of Investigative Activity. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 3/13/2013         2          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods (names of covert                                                      (b)(3)CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names                                                 (b)(3) NatSecAct,
                                       and agency identification numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                       (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                 (b)(6),
                                       agency deliberations regarding the investigation. Disclosure of this document would reveal a specific issue OIG                                                (b)(7)(C)
                                       thought was important to the investigation as well as employees that may be interviewed. Exemption (b)(6) was
                                       asserted to protect the names of Agency and non‐Agency federal employees. Exemption (b)(7)(C) was asserted
                                       to protect the names of Agency and non‐Agency federal employees involved in the investigation. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       CONFIDENTIAL and as such, disclosure of this information could be reasonably expected to result in damage to
                                       national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 59     6/18/2020        C06615291     OIG Memorandum of Investigative Activity. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain      3/19/2013   16          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods (intelligence activities).                                            (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption                                                 (b)(3) NatSecAct,
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                     (b)(5),
                                       Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to next steps in the                                                (b)(6),
                                       investigation. Exemption (b)(6) was asserted to protect the names of Agency employees. Exemption (b)(7)(D)                                                     (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals related to FBI’s
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.


 60     6/18/2020        C06615296     OIG Memorandum of Investigative Activity. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 4/16/2013        8           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods (covert personnel,                                                    (b)(3) CIA Act,
                                       intelligence activities). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                    (b)(3) NatSecAct,
                                       personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                           (b)(5),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                        (b)(6),
                                       deliberations related to next steps in the investigation. Exemption (b)(6) was asserted to protect the names of                                                (b)(7)(D)
                                       Agency employees. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals related to FBI’s investigation. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 61     6/18/2020        C06615323     Internal Agency E‐Mails. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is  2/4/2013        14          DIF                (b)(1),
                                       classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (intelligence activites,                                                   (b)(3) CIA Act,
                                       identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                      (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security                                                 (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                 (b)(6)
                                       to protect pre‐decisional intra‐agency deliberations. Exemption (b)(6) was asserted to protect the names and/or
                                       other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                          Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 62     6/18/2020        C06615333     Internal Agency E‐Mails. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is  1/29/2013           6           DIF                (b)(1),
                                       classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (intelligence activites,                                                       (b)(3) CIA Act,
                                       identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                          (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security                                                     (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                     (b)(6)
                                       to protect pre‐decisional intra‐agency deliberations. Exemption (b)(6) was asserted to protect the names and/or
                                       other personal information of Agency personnel. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 63     6/18/2020        C06615336     Two Internal Agency E‐Mails Concerning Invoices/Documents. Exemptions (b)(1) and b)(3) (National Security          12/17/2012, 4                DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and 11/26/2012                                      (b)(3) CIA Act,
                                       methods (information identifying information regarding Agency information systems). Exemption (b)(3) (CIA Act)                                                     (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names and agency identification numbers).                                                        (b)(5),
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                        (b)(6),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to next                                                        (b)(7)(C)
                                       steps in providing assistance to the FBI’s investigation. Exemption (b)(6) was asserted to protect the names of
                                       Agency employees. Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated.
 64     6/18/2020        C06615338     Two Internal Agency E‐Mails Concerning Work Request/Completed. Exemption (b)(1) and (b)(3) (National                    1/31/2013   3           DIF                (b)(1),
                                       Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources                                            (b)(3) CIA Act,
                                       and methods (information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                         (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names and agency identification numbers). Exemption (b)(3)                                                       (b)(5),
                                       (National Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption                                                      (b)(6),
                                       (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to next steps in providing                                                        (b)(7)(C)
                                       assistance to the FBI’s investigation. Exemption (b)(6) was asserted to protect the names of Agency employees.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the investigation. The
                                       CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable,
                                       non‐exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       SECRET, and as such, disclosure of this information could be reasonably expected to result in serious damage to
                                       national security.
 65     6/18/2020        C06615348     Internal Agency E‐Mails. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is     11/13/2012       2           DIF                (b)(1),
                                       classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert personnel, identifying                                                 (b)(3) CIA Act,
                                       information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect                                                              (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security Act) was                                                    (b)(5),
                                       also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect                                                   (b)(6)
                                       pre‐decisional intra‐agency deliberations. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure of this
                                       information could be reasonably expected to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                          Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 66     6/18/2020        C06615349     Internal Agency E‐Mails. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is     11/5/2012        3           DIF                (b)(1),
                                       classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert personnel, identifying                                                 (b)(3) CIA Act,
                                       information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect                                                              (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security Act) was                                                    (b)(6)
                                       also invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect
                                       the names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as TOP SECRET, and as such, disclosure
                                       of this information could be reasonably expected to result in exceptionally grave damage to national security.



 67     6/18/2020        C06615353     Internal Agency E‐Mail Concerning Setting up computer with virus scan. Exemption (b)(1) and (b)(3) (National            1/29/2013   16          DIF                (b)(1),
                                       Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources                                            (b)(3) CIA Act,
                                       and methods (information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to                                                         (b)(3) NatSecAct,
                                       protect identifying information of CIA personnel (names and phone numbers). Exemption (b)(3) (National                                                             (b)(5),
                                       Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was                                                     (b)(6),
                                       asserted to protect pre‐decisional intra‐agency deliberations related next steps in the investigation. Exemption                                                   (b)(7)(C)
                                       (b)(6) was asserted to protect the names of Agency employees. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees involved in the investigation. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 68     6/18/2020        C06615356     Internal Agency E‐Mail Concerning Computer. Exemption (b)(3) (CIA Act) was asserted to protect identifying       1/29/2013          2           DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names and phone numbers). Exemption (b)(3) (National Security Act) was also                                                          (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                                   (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. Exemption (b)(6) was asserted to protect the                                                   (b)(7)(C)
                                       names of Agency employees. Exemption (b)(7)(C) was asserted to protect the names of Agency employees
                                       involved in the investigation. The CIA conducted a line‐by‐line review of this document to determine whether
                                       meaningful, reasonably segregable, non‐exempt portions of the document could be released. This document is
                                       withheld in full because there is no meaningful, non‐exempt information that can be reasonably segregated.


 69     6/18/2020        C06615357     Internal Agency E‐Mails. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is     1/29/2013        2           DIF                (b)(1),
                                       classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert personnel, identifying                                                 (b)(3) CIA Act,
                                       information regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect                                                              (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names, email addresses). Exemption (b)(3) (National Security Act) was                                                    (b)(6)
                                       also invoked to protect unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect
                                       the names and/or other personal information of Agency personnel. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                    Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 70     6/18/2020        C06615361     Internal Agency E‐Mail Concerning Computer. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 1/30/2013   3           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                           (b)(3) CIA Act,
                                       regarding Agency information systems and covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect                                              (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names and phone numbers). Exemption (b)(3) (National Security Act)                                                (b)(5),
                                       was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to                                                (b)(6),
                                       protect pre‐decisional intra‐agency deliberations related to the investigation. Exemption (b)(6) was asserted to                                            (b)(7)(C)
                                       protect the names of Agency employees. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees involved in the investigation. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure of this information
                                       could be reasonably expected to result in damage to national security.


 71     6/18/2020        C06615367     Three Internal Agency E‐Mails Concerning Computer. Exemption (b)(1) and (b)(3) (National Security Act) apply to 11/13/2012   10          DIF                (b)(1),
                                       certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                                (b)(3) CIA Act,
                                       (identifying information and security protocols regarding Agency information systems). Exemption (b)(3) (CIA                                                (b)(3) NatSecAct,
                                       Act) was asserted to protect identifying information of CIA personnel (names and phone numbers). Exemption                                                  (b)(5),
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                  (b)(6),
                                       Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the investigation.                                            (b)(7)(C)
                                       Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency personnel.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the investigation. The
                                       CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable,
                                       non‐exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       SECRET, and as such, disclosure of this information could be reasonably expected to result in serious damage to
                                       national security.

 72     6/18/2020        C06615375     Internal Agency E‐Mail Concerning Computer. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain 3/10/2014   15          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                           (b)(3) CIA Act,
                                       information regarding Agency systems and covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect                                              (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names, agency identification numbers and phone numbers). Exemption                                                (b)(5),
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                  (b)(6),
                                       Exemption (b)(5) was asserted to protect pre decisional intra‐agency deliberations related to assistance with FBI’s                                         (b)(7)(C)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the
                                       investigation. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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 No.
 73     6/18/2020        C06637386     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    10/5/2012    4          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                            (b)(3) CIA Act,
                                       information regarding Agency information systems and names of covert personnel). Exemption (b)(3) (CIA Act)                                                  (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                               (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. The handwritten notes contain                                             (b)(7)(C),
                                       opinions and thoughts of the investigators that would reveal the direction, progress, and focus of the                                                       (b)(7)(D)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.

 74     6/18/2020        C06637387     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    11/20/2012   3          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                            (b)(3) CIA Act,
                                       information regarding Agency information systems, programs and names of covert personnel). Exemption (b)(3)                                                  (b)(3) NatSecAct,
                                       (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National                                               (b)(5),
                                       Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was                                               (b)(6),
                                       asserted to protect pre decisional intra‐agency deliberations related to the investigation. The handwritten notes                                            (b)(7)(C),
                                       contain opinions and thoughts of the investigators that would reveal the direction, progress, and focus of the                                               (b)(7)(D)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.




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Entry
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 No.
 75     6/18/2020        C06637388     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       Unknown   2            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                              (b)(3) CIA Act,
                                       information regarding Agency information systems information security, programs and names of covert                                                            (b)(3) NatSecAct,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names).                                               (b)(5),
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                    (b)(6),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                     (b)(7)(C),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                  (b)(7)(D)
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


 76     6/18/2020        C06637389     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    11/20/2012   5            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                              (b)(3) CIA Act,
                                       information regarding Agency technical capability and names of covert personnel). Exemption (b)(3) (CIA Act)                                                   (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                  (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                 (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. The handwritten notes contain                                               (b)(7)(C),
                                       opinions and thoughts of the investigators that would reveal the direction, progress, and focus of the                                                         (b)(7)(D)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 77     6/18/2020        C06637390     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown     3           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                             (b)(3) CIA Act,
                                       information regarding Agency technical capability and names of covert personnel). Exemption (b)(3) (CIA Act)                                                  (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                 (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. The handwritten notes contain                                              (b)(7)(C),
                                       opinions and thoughts of the investigators that would reveal the direction, progress, and focus of the                                                        (b)(7)(D)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 78     6/18/2020        C06637391     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/28/2013   6           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                             (b)(3) CIA Act,
                                       information regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                            (b)(3) NatSecAct,
                                       information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect                                                    (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                 (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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 No.
 79     6/18/2020        C06637392     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    Unknown    2           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                           (b)(3) CIA Act ,
                                       information regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect                                                      (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                            (b)(5),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                               (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                               (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                   (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.



 80     6/18/2020        C06637393     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   1/29/2013   4           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                              (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                              (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                            (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                              (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                               (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                              (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.




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          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                    Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 81     6/18/2020        C06637394     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   1/30/2013   1           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                              (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                              (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                            (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                              (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                               (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                              (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.


 82     6/18/2020        C06637395     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   Unknown     6           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                              (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                              (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                            (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                              (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                               (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                              (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.




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          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 83     6/18/2020        C06637396     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/20/2012   8          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                             (b)(3) CIA Act,
                                       information regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect                                                        (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to                                                (b)(5),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                               (b)(6),
                                       intra‐agency deliberations relate to the investigation. The handwritten notes contain opinions and thoughts of                                                (b)(7)(C),
                                       the investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                             (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 84     6/18/2020        C06637397     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/30/2013    4          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (identifying                                             (b)(3) CIA Act,
                                       information regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                            (b)(3) NatSecAct,
                                       information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect                                                    (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                 (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 85     6/18/2020        C06637398     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/20/2012   5          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       regarding Agency technical capability and names of ). Exemption (b)(3) (CIA Act) was asserted to protect                                                      (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to                                                (b)(5),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                               (b)(6),
                                       intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of                                               (b)(7)(C),
                                       the investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                             (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 86     6/18/2020        C06637399     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown      6          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       regarding Agency technical capability and names of covert personnel). Exemption (b)(3) (CIA Act) was asserted                                                 (b)(3) NatSecAct,
                                       to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also                                                (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                                (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                            (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.


 87     6/18/2020        C06637400     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying       11/14/2012       3          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                    (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                        (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                     (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, an information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 88     6/18/2020        C06637401     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying       11/15/2012         3          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                      (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                          (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                   (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                       (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.


 89     6/18/2020        C06637402     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying       11/15/2012         3          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                      (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                          (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                   (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                       (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.


 90     6/18/2020        C06637403     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       11/14/2012   3          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                    (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names).                                                (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                     (b)(5),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                      (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                   (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                  (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 91     6/18/2020        C06637404     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/15/2012    1           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                    (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names).                                                (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was asserted to protect unclassified intelligences sources and methods.                                                (b)(5),
                                       Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the investigation.                                                (b)(6),
                                       The handwritten notes contain opinions and thoughts of the investigators that would reveal the direction,                                                       (b)(7)(C),
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other                                                       (b)(7)(D)
                                       personal information of Agency personnel and private citizens. Exemption (b)(7)(D) was also asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA
                                       conducted a line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐
                                       exempt portions of the document could be released. This document is withheld in full because there is no
                                       meaningful, non‐exempt information that can be reasonably segregated. This document is properly classified as
                                       SECRET, and as such, disclosure of this information could be reasonably expected to result in serious damage to
                                       national security.

 92     6/18/2020        C06637405     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       1/28/2013   2           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                    (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                 (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                                 (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                                 (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                                (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                     (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 93     6/18/2020        C06637406     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/13/2012   6          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (intelligence                                            (b)(3) CIA Act,
                                       activity and names of covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                       (b)(3) NatSecAct,
                                       information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect                                                    (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                 (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


 94     6/18/2020        C06637407     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/14/2012   4          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                                (b)(3) CIA Act ,
                                       covert personnel and information regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted                                              (b)(3) NatSecAct,
                                       to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also                                                (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) as asserted to protect pre‐                                               (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                                (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                            (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                     Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 95     6/18/2020        C06637408     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   11/15/2012    2          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                               (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                               (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                             (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                               (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                               (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.


 96     6/18/2020        C06637409     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying       11/14/2012      2          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                   (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                       (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                    (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.


 97     6/18/2020        C06637410     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying          11/15/2012   6          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐decisional                                                 (b)(5),
                                       intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of                                              (b)(6),
                                       the investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                            (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                    (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
 98     6/18/2020        C06637411     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/15/2012   3          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                            (b)(3) NatSecAct,
                                       of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                   (b)(5),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                       (b)(6),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                        (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                     (7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.


 99     6/18/2020        C06637412     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   11/14/2012     3          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                                (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                                (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                              (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                 (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
100     6/18/2020        C06637413     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying          Unknown      4            DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐decisional                                                   (b)(5),
                                       intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of                                                (b)(6),
                                       the investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                              (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                      (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.



101     6/18/2020        C06637414     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       Unknown   15           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                   (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                                (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                                (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                               (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                    (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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Entry
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 No.
102     6/18/2020        C06637415     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       1/30/2013   2           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                    (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names).                                                (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                     (b)(5),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                      (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                   (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                  (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


103     6/18/2020        C06637416     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   1/30/2013       7           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (identifying                                                (b)(3) CIA Act,
                                       information regarding Agency information systems and names of covert personnel). Exemption (b)(3) (CIA Act)                                                     (b)(3) NatSecAct,
                                       was asserted to protect identifying information of CIA personnel (names). Exemption (b)(3) (National Security                                                   (b)(5),
                                       Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted                                                  (b)(6),
                                       to protect pre‐decisional intra‐agency deliberations related to the investigation. The handwritten notes contain                                                (b)(7)(C),
                                       opinions and thoughts of the investigators that would reveal the direction, progress, and focus of the                                                          (b)(7)(D)
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.
104     6/18/2020        C06637417     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying         11/19/2012      2           DIF                (b)(3) CIA Act ,
                                       information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                      (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                          (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                   (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                       b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
105     6/18/2020        C06637418     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       11/19/2012   10         DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (names of                                                   (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                                  (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                                (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                  (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                   (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                  (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


106     6/18/2020        C06637419     Internal Investigative Handwritten Notes. Memorandum of Investigative Activity/CIA Employee. Exemption (b)(3) 11/19/2012          5          DIF                (b)(3) CIA Act,
                                       (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption (b)(5) was                                                        (b)(5),
                                       asserted to protect pre‐decisional intra‐agency deliberations related to the investigation. The handwritten notes                                               (b)(6),
                                       contain opinions and thoughts of the investigators that would reveal the direction, progress, and focus of the                                                  (b)(7)(C),
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency                                                   (b)(7)(D)
                                       personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated.


107     6/18/2020        C06637420     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying       Unknown            3          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                      (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                          (b)(6),
                                       nvestigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                    (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                       (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
108     6/18/2020        C06637421     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   Unknown       6           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (names of                                                 (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                                (b)(3) NatSecAct,
                                       (names). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources                                              (b)(5),
                                       and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                 (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.


109     6/18/2020        C06637423     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/29/2013   4           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (information                                              (b)(3) CIA Act,
                                       identifying Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                       (b)(3) NatSecAct,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also                                                        (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                                (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                            (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the Investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.


110     6/18/2020        C06637424     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying          11/16/2012   5           DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐ decisional                                                 (b)(5),
                                       intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of                                               (b)(6),
                                       the investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                             (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                     (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.




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Entry
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 No.
111     6/18/2020        C06637425     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     11/14/2012   3          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (names of                                                 (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                                (b)(3) NatSecAct,
                                       (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                     (b)(5),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                       (b)(6),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                        (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


112     6/18/2020        C06637426     Internal Investigative Handwritten Notes. Exemption (b)(3) (CIA Act) was asserted to protect identifying          1/29/2013     2          DIF                (b)(3) CIA Act,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was invoked to                                                  (b)(3) NatSecAct,
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                               (b)(5),
                                       intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of                                               (b)(6),
                                       the investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                             (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                     (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated.

113     6/18/2020        C06637427     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/29/2013    2          DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (information                                              (b)(3) CIA Act,
                                       regarding Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                         (b)(3) NatSecAct,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also                                                        (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                                (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                            (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as
                                       such, disclosure of this information could be reasonably expected to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                    Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
114     6/18/2020        C06637428     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   1/30/2013   2           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (information                                            (b)(3) CIA Act,
                                       regarding Agency security protocols). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                            (b)(3) NatSecAct
                                       of CIA personnel (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                               (b)(5),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                      (b)(6),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                               (b)(7)(C),
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.                                                   (b)(7)(D)
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.



115     6/18/2020        C06637429     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   1/30/2013   2           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (covert                                                 (b)(3) CIA Act,
                                       locations). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                             (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also asserted to protect unclassified intelligence                                             (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect predecisional intra‐agency deliberations related                                              (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                            (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                 (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
116     6/18/2020        C06637430     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/30/2013   3           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       identifying Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                      (b)(3) NatSecAct,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also                                                        (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                                (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                            (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as
                                       such, disclosure of this information could be reasonably expected to result in damage to national security.


117     6/18/2020        C06637431     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   Unknown       4           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                  (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted toprotect identifying information of CIA personnel (names,                                                (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                               (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                              (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                   (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
118     6/18/2020        C06637432     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       Unknown   3            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                   (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names).                                               (b)(3) NatSecAct,
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                                    (b)(5),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                     (b)(6),
                                       investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal the                                                  (b)(7)(C),
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or                                                 (b)(7)(D)
                                       other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.


119     6/18/2020        C06637433     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   1/28/2013     2            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                   (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                                (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                                (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                               (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                    (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.




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Entry
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 No.
120     6/18/2020        C06637434     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    Unknown      1            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                              (b)(3) CIA Act,
                                       identifying Agency information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                                        (b)(3) NatSecAct,
                                       information of CIA personnel (names). Exemption (b)(3) (National Security Act) was also invoked to protect                                                     (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                 (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                  (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                  (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.


121     6/18/2020        C06637435     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain       Unknown   4            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (covert                                                   (b)(3) CIA Act,
                                       personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                                (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                                (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                               (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                    (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as SECRET, and as such, disclosure of this information could be reasonably expected to result
                                       in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
122     6/18/2020        C06637436     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/28/2013   5           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act ,
                                       regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                            (b)(3) NatSecAct,
                                       of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                 (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                 (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.


123     6/18/2020        C06637437     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown     2           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act ,
                                       regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                            (b)(3) NatSecAct,
                                       of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                 (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                 (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                     Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
124     6/18/2020        C06637438     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown   2            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                               (b)(3) CIA Act ,
                                       covert personnel). Exemption (b)(3) (CIA Act) as invoked to protect identifying information of CIA personnel                                                 (b)(3) NatSecAct,
                                       (names, phone numbers). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations                                                   (b)(5),
                                       related to the investigation. The handwritten notes contain opinions and thoughts of the investigators that                                                  (b)(6),
                                       would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the                                           (b)(7)(C),
                                       names and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was                                                    (b)(7)(D)
                                       asserted to protect the names of Agency employees and private citizens involved in the investigation. Exemption
                                       (b)(7)(D) was also asserted to protect identifying information of, and information provided by individuals
                                       interviewed in the course of the investigation who were speaking with Agency OIG under an implied promise of
                                       confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure of this information
                                       could be reasonably expected to result in damage to national security.



125     6/18/2020        C06637439     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown   4            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                            (b)(3) CIA Act,
                                       regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                           (b)(3) NatSecAct,
                                       of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                               (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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 No.
126     6/18/2020        C06637440     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain    Unknown      3           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       identifying Agency information systems and information security protocols). Exemption (b)(3) (CIA Act) was                                                    (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names, phone numbers). Exemption (b)(3)                                                         (b)(5),
                                       (National Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption                                                 (b)(6),
                                       (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the investigation. The                                                    (b)(7)(C),
                                       handwritten notes contain opinions and thoughts of the investigators that would reveal the direction, progress,                                               (b)(7)(D)
                                       and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal
                                       information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to protect the names of
                                       Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to
                                       protect identifying information of, and information provided by, individuals interviewed in the course of the
                                       investigation who were speaking with Agency OIG under an implied promise of confidentiality per Agency policy.
                                       The CIA conducted a line‐by‐line review of this document to determine whether meaningful, reasonably
                                       segregable, non‐exempt portions of the document could be released. This document is withheld in full because
                                       there is no meaningful, non‐exempt information that can be reasonably segregated. This document is properly
                                       classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected to result in
                                       damage to national security.

127     6/18/2020        C06637441     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/28/2013   5           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                            (b)(3) NatSecAct,
                                       of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                 (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                 (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                 (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.




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          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
128     6/18/2020        C06637442     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain   Unknown       3           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O.13526 and reflects intelligence sources and methods (covert                                                   (b)(3) CIA Act,
                                       locations). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                               (b)(3) NatSecAct,
                                       phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                               (b)(5),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(6),
                                       to the investigation. The handwritten notes contain opinions and thoughts of the investigators that would reveal                                              (b)(7)(C),
                                       the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names                                                   (b)(7)(D)
                                       and/or other personal information of Agency personnel and private citizens. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. Exemption (b)(7)(D)
                                       was also asserted to protect identifying information of, and information provided by individuals interviewed in
                                       the course of the investigation who were speaking with Agency OIG under an implied promise of confidentiality
                                       per Agency policy. The CIA conducted a line‐by‐line review of this document to determine whether meaningful,
                                       reasonably segregable, non‐exempt portions of the document could be released. This document is withheld in
                                       full because there is no meaningful, non‐exempt information that can be reasonably segregated. This document
                                       is properly classified as CONFIDENTIAL and as such, disclosure of this information could be reasonably expected
                                       to result in damage to national security.


129     6/18/2020        C06637443     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     1/30/2013   4           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                             (b)(3) CIA Act,
                                       identifying Agency information security protocols). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                            (b)(3) NatSecAct,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also                                                        (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                                (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                            (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as
                                       such, disclosure of this information could be reasonably expected to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                     Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
130     6/18/2020        C06637444     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown   4            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                            (b)(3) CIA Act,
                                       regarding Agency information security protocols ). Exemption (b)(3) (CIA Act) was asserted to protect identifying                                            (b)(3) NatSecAct,
                                       information of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also                                                       (b)(5),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                             (b)(6),
                                       decisional intra‐agency deliberations related to the investigation. The handwritten notes contain opinions and                                               (b)(7)(C),
                                       thoughts of the investigators that would reveal the direction, progress, and focus of the investigation. Exemption                                           (b)(7)(D)
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel and private
                                       citizens. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and
                                       information provided by individuals interviewed in the course of the investigation who were speaking with
                                       Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as
                                       such, disclosure of this information could be reasonably expected to result in damage to national security.


131     6/18/2020        C06637445     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain  1/23/2013    4            DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (names of                                               (b)(3) CIA Act,
                                       covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel                                               (b)(3) NatSecAct,
                                       (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                    (b)(5),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                      (b)(6),
                                       deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                       (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure
                                       of this information could be reasonably expected to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                       Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
132     6/18/2020        C06637446     Internal Investigative Handwritten Notes. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain     Unknown      5           DIF                (b)(1),
                                       material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (information                                              (b)(3) CIA Act,
                                       regarding Agency technical capability). Exemption (b)(3) (CIA Act) was asserted to protect identifying information                                             (b)(3) NatSecAct,
                                       of CIA personnel (names, phone numbers). Exemption (b)(3) (National Security Act) was also invoked to protect                                                  (b)(5),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                 (b)(6),
                                       agency deliberations related to the investigation. The handwritten notes contain opinions and thoughts of the                                                  (b)(7)(C),
                                       investigators that would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was                                                  (b)(7)(D)
                                       asserted to protect the names and/or other personal information of Agency personnel and private citizens.
                                       Exemption (b)(7)(C) was asserted to protect the names and/or other personal information of Agency employees
                                       and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.

133     6/18/2020        C06865546     Internal Agency e‐mail concerning the FBI investigation. Exemption (b)(3) (National Security Act) applies to        1/24/2013   1           DIF                (b)(3) CIA Act,
                                       certain material that reflects unclassified intelligence sources and methods. Exemptions (b)(3) (CIA Act) was                                                  (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names, email addresses, official title, and telephone                                            (b)(5),
                                       numbers). Exemption (b)(3) (National Security Act) was invoked to protect unclassified intelligences sources and                                               (b)(6),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the                                                     (b)(7)(C),
                                       investigation. This document includes a summary of investigative activity and related request concerning a                                                     (b)(7)(D)
                                       subsequent investigation related action as a result of the investigative activity. Disclosure would reveal the
                                       direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to protected the names and/or
                                       other personal infomration other of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of
                                       Agency employees involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with Agency OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated.




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Entry
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 No.
134     6/18/2020        C06865547     Internal Agency e‐mail concerning details of the FBI investigation in preparation for a meeting with FBI.              11/27/2012   3         DIF                (b)(1),
                                       Exemptions (b)(1) and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O.                                           (b)(3) CIA Act,
                                       13526 and reflects intelligence sources and methods (intelligence activities). Exemptions (b)(3) (CIA Act) was                                                   (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names, email addresses, telephone numbers,                                                         (b)(5),
                                       official title, and Agency identification number). Exemption (b)(3) (National Security Act) was also invoked to                                                  (b)(6),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                                  (b)(7)(C)
                                       recommendations and deliberations among OIG personnel related to assisting with the FBI investigation. This
                                       document includes proposed questions for FBI regarding its investigation for review, comment, edits, revisions,
                                       and recommendations in preparation for a meeting with the FBI. Disclosure of this document would reveal
                                       internal agency deliberations on particular issues related to the investigation and would also reveal the direction,
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees and private citizens involved in the investigation. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classifed as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.

135     6/18/2020        C06865548     Internal Agency e‐mail concerning the FBI Investigation. Exemption (b)(3) (National Security Act) applies to       1/29/2013        2         DIF                (b)(3) CIA Act,
                                       certain material that reflects intelligence sources and methods (information security). Exemptions (b)(3) (CIA                                                   (b)(3) NatSecAct,
                                       Act) was asserted to protect identifying information of CIA personnel (names, email addresses, telephone                                                         (b)(5),
                                       numbers, and official title). Exemption (b)(3) (National Security Act) was asserted to protect unclassified                                                      (b)(6)
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional recommendations
                                       and deliberations between OIG and Agency personnel related to assisting with the FBI investigation. This
                                       document includes a discussion and status request regarding a particular area of interest in the FBI investigation
                                       for which the Agency is providing assistance. Disclosure of this document would reveal the direction, progress,
                                       and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal
                                       information of Agency personnel. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated.




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Entry
          FOIA Request     CADRE No.                             Description of Document and Information Withheld                                   Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
136     6/18/2020        C06865551     E‐mail correspondence between the Agency and FBI concerning a request for CIA documents. Exemption (b)(1) 1/7/2013        29           DIF                (b)(1),
                                       and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects                                   (b)(3) CIA Act,
                                       intelligence sources and methods (covert personnel, intelligence activities, and intelligence methods, code name,                                         (b)(3) NatSecAct,
                                       and classification dissemination markings). Exemptions (b)(3) (CIA Act) was asserted to protect identifying                                               (b)(5),
                                       information of CIA personnel (names, email addresses, telephone numbers, office locations, Agency                                                         (b)(6),
                                       identification number, and official title). Exemption (b)(3) (National Security Act) was also invoked to protect                                          (b)(7)(C),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional inter‐                                            (b)(7)(D)
                                       agency deliberations related to the FBI investigation. This email contains an attachment of several memoranda
                                       of investigative activity conducted by OIG personnel provided to the FBI pursuant to the FBI’s request. Disclosure
                                       of this document would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was
                                       asserted to protect the names and/or other personal information of Agency personnel or other government
                                       employees. Exemption (b)(7)(C) was asserted to protect the names of Agency, non‐Agency federal employees,
                                       and private citizens involved in the investigation. Exemption (b)(7)(D) was asserted to protect identifying
                                       information of, and information provided by individuals interviewed in the course of the investigation who were
                                       speaking with OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐
                                       line review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of
                                       the document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.


137     6/18/2020        C06865552     E‐mail correspondence between the Agency and FBI concerning a request for CIA documents. Exemption (b)(1) 1/7/2013        31           DIF                (b)(1),
                                       and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects                                   (b)(3) CIA Act,
                                       intelligence sources and methods (covert personnel, intelligence activities, intelligence methods, and                                                    (b)(3) NatSecAct,
                                       classification dissemination markings). Exemptions (b)(3) (CIA Act) was asserted to protect identifying                                                   (b)(5),
                                       information of CIA personnel (names, email addresses, telephone numbers, office locations, Agency                                                         (b)(6),
                                       identification number, and official title). Exemption (b)(3) (National Security Act) was also invoked to protect                                          (b)(7)(C),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional inter‐                                            (b)(7)(D)
                                       agency deliberations related to the FBI investigation. This email contains an attachment of several memoranda
                                       of investigative activity conducted by OIG personnel that was provided to the FBI pursuant to the FBI’s request.
                                       Disclosure of this document would reveal the direction, progress, and focus of the investigation. Exemption
                                       (b)(6) was asserted to protect the names and/or other personal information of Agency personnel or other
                                       government employees. Exemption (b)(7)(C) was asserted to protect the names of Agency, non‐Agency federal
                                       employees, and private citizens involved in the investigation. Exemption (b)(7)(D) was asserted to protect
                                       identifying information of, and information provided by individuals interviewed in the course of the investigation
                                       who were speaking with OIG under an implied promise of confidentiality per Agency policy. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.




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Entry
          FOIA Request     CADRE No.                             Description of Document and Information Withheld                                   Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
138     6/18/2020        C06865553     E‐mail correspondence between the Agency and FBI concerning a request for CIA documents. Exemption (b)(1) 1/7/2013        22           DIF                (b)(1),
                                       and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects                                   (b)(3) CIA Act,
                                       intelligence sources and methods (covert personnel, intelligence activities, intelligence methods). Exemptions                                            (b)(3) NatSecAct,
                                       (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, email addresses,                                                (b)(5),
                                       telephone numbers, office locations, Agency identification number, and official title). Exemption (b)(3) (National                                        (b)(6),
                                       Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was                                            (b)(7)(C),
                                       asserted to protect pre‐decisional inter‐agency deliberations related to the FBI investigation. This email contains                                       (b)(7)(D)
                                       an attachment of several memoranda of investigative activity conducted by OIG personnel that was provided to
                                       the FBI pursuant to the FBI’s request. Disclosure of this document would reveal the direction, progress, and
                                       focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal
                                       information of Agency personnel or other government employees. Exemption (b)(7)(C) was asserted to protect
                                       the names of Agency, non‐Agency federal employees, and private citizens involved in the investigation.
                                       Exemption (b)(7)(D) was also asserted to protect identifying information of, and information provided by
                                       individuals interviewed in the course of the investigation who were speaking with OIG under an implied promise
                                       of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as SECRET, and as such, disclosure of this information could be
                                       reasonably expected to result in serious damage to national security.

139     6/18/2020        C06865555     E‐mail correspondence between the Agency and FBI concerning a request for CIA documents related to the FBI 1/8/2013       7            DIF                (b)(1),
                                       investigation. Exemption (b)(1) and (b)(3) (National                                                                                                      (b)(3) CIA Act,
                                       Security Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources                                   (b)(3) NatSecAct,
                                       and methods (covert personnel). Exemptions (b)(3) (CIA Act) was asserted to protect identifying information of                                            (b)(5),
                                       CIA personnel (names, email addresses, telephone number, Agency identification number, and official title).                                               (b)(6),
                                       Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and                                               (b)(7)(C),
                                       methods. Exemption (b)(5) was asserted to protect pre‐decisional inter‐agency deliberations related to the FBI                                            (b)(7)(D)
                                       investigation. This email contains an attachment of several memoranda of investigative activity conducted by
                                       OIG personnel that was provided to the FBI pursuant to the FBI’s request. It also includes a status report of
                                       certain investigative activities. Disclosure of this document would reveal the direction, progress, and focus of the
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel or other government employees. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       and private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying
                                       information of individuals interviewed in the course of the investigation who were speaking with OIG under an
                                       implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this document to
                                       determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as CONFIDENTIAL and as such, disclosure of this
                                       information could be reasonably expected to result in damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                        Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
140     6/18/2020        C06865557     Internal Agency e‐mail concerning the FBI Investigation. Exemption (b)(3) (National Security Act) applies to       1/23/2013        1         DIF                (b)(3) CIA Act,
                                       certain material that reflects unclassed intelligence sources and methods (information security). Exemptions                                                     (b)(3) NatSecAct,
                                       (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, email addresses,                                                       (b)(5),
                                       telephone numbers, and official title). Exemption (b)(5) was asserted to protect pre‐decisional recommendations                                                  (b)(6)
                                       and deliberations between OIG and Agency personnel related to assisting with the FBI investigation. This
                                       document includes a discussion and status request regarding a particular area of interest in the FBI investigation
                                       for which the Agency is providing assistance. Disclosure of this document would reveal the direction, progress,
                                       and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other personal
                                       information of Agency personnel. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated.
141     6/18/2020        C06865560     Internal Agency e‐mail concerning details of the FBI investigation in preparation for a discussion with FBI.           11/28/2012   3         DIF                (b)(1)
                                       Exemptions (b)(1) and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O.                                           (b)(3) CIA Act,
                                       13526 and reflects intelligence sources and methods (intelligence activities). Exemptions (b)(3) (CIA Act) was                                                   (b)(3) NatSec Act,
                                       asserted to protect identifying information of CIA personnel (names, email addresses, telephone numbers,                                                         (b)(5),
                                       official title, and Agency identification number). Exemption (b)(3) (National Security Act) was also invoked to                                                  (b)(6),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                                  (b)(7)(C)
                                       recommendations and deliberations among OIG personnel related to assisting with the FBI investigation. This
                                       document includes proposed questions for FBI regarding its investigation for review, comment, edits, revisions,
                                       and recommendations in preparation for a meeting with the FBI. Disclosure of this document would reveal
                                       internal agency deliberations on particular issues related to the investigation and would also reveal the direction,
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel or other government employees. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees and private citizens involved in the investigation. The CIA conducted a
                                       line‐by‐line review of this document to determine whether meaningful, reasonably segregable, non‐exempt
                                       portions of the document could be released. This document is withheld in full because there is no meaningful,
                                       non‐exempt information that can be reasonably segregated. This document is properly classified as SECRET, and
                                       as such, disclosure of this information could be reasonably expected to result in serious damage to national
                                       security.
142     6/18/2020        C06865561     Internal Agency e‐mail concerning details of the FBI investigation in preparation for a discussion with FBI.           11/27/2012   2         DIF                (b)(1),
                                       Exemptions (b)(1) and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O.                                           (b)(3) CIA Act,
                                       13526 and reflects intelligence sources and methods (intelligence activities). Exemptions (b)(3) (CIA Act) was                                                   (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names, email addresses, telephone numbers,                                                         (b)(5),
                                       official title, and Agency identification number). Exemption (b)(3) (National Security Act) was also invoked to                                                  (b)(6),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                                  (b)(7)(C)
                                       intra‐agency and inter‐agency deliberations related to the investigation. This document includes questions for
                                       FBI regarding its investigation for discussion that was prepared by the Office of the Inspector General for meeting
                                       with the FBI. Disclosure of this document would reveal inter‐agency and intra‐agency deliberations on a
                                       particular issues related to the investigation and would also reveal the direction, progress, and focus of the
                                       investigation. Exemption (b)(6) was asserted to protect the names and/or other personal information of Agency
                                       personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency employees and private citizens
                                       involved in the investigation. The CIA conducted a line‐by‐line review of this document to determine whether
                                       meaningful, reasonably segregable, non‐exempt portions of the document could be released. This document is
                                       withheld in full because there is no meaningful, non‐exempt information that can be reasonably segregated. This
                                       document is properly classified as SECRET, and as such, disclosure of this information could be reasonably
                                       expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                               Description of Document and Information Withheld                                        Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
143     6/18/2020        C06865562     Internal Agency e‐mail concerning correspondence with the FBI regarding information related to the                    11/27/2012    7         DIF                (b)(1),
                                       investigation. Exemption (b)(1) and (b)(3) (National Security Act) apply to certain material that is classified under                                            (b)(3) CIA Act,
                                       1.4(c) of E.O. 13526 and reflects intelligence sources and methods (intelligence activities, covert locations, and                                               (b)(3) NatSecAct,
                                       classification dissemination markings). Exemptions (b)(3) (CIA Act) was asserted to protect identifying                                                          (b)(5),
                                       information of CIA personnel (names, email addresses, official titles, telephone numbers, office location, and                                                   (b)(6),
                                       Agency identification number). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified                                                 (b)(7)(C),
                                       intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                          (b)(7)(D)
                                       deliberations related to the investigation. This document contains a discussion of information related to the FBI
                                       investigation and the passage of such information to the FBI and other related areas of the government.
                                       Disclosure would reveal the direction, progress, and focus of the investigation. In addition, the attorney client
                                       privilege was also asserted to protect these discussions, which consist of legal guidance provided by a CIA
                                       attorney that was solicited by an Agency personnel. Exemption (b)(6) was asserted to protect the personal
                                       information of Agency personnel. Exemption (b)(7)(C) was asserted to protect identifying information of
                                       individuals involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying information
                                       of, and information provided by individuals related to FBI’s investigation. The CIA conducted a line‐by‐line review
                                       of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as TOP SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in exceptionally grave damage to national
                                       security.

144     6/18/2020        C06865563     Internal Agency e‐mail concerning details of the FBI investigation in preparation for a discussion with FBI.           11/27/2012   3         DIF                (b)(1),
                                       Exemptions (b)(1) and (b)(3) (National Security Act) apply to certain material that is classified under 1.4(c) of E.O.                                           (b)(3) CIA Act,
                                       13526 and reflects intelligence sources and methods (intelligence activities). Exemptions (b)(3) (CIA Act) was                                                   (b)(3) NatSecAct,
                                       asserted to protect identifying information of CIA personnel (names, email addresses, telephone numbers,                                                         (b)(5),
                                       official title, and Agency identification number). Exemption (b)(3) (National Security Act) was also invoked to                                                  (b)(6),
                                       protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional                                                  (b)(7)(C)
                                       recommendations and deliberations among OIG related to assisting with the FBI investigation. This document
                                       includes proposed questions for FBI regarding its investigation for review, comment, edits, revisions, and
                                       recommendations in preparation for a meeting with the FBI. Disclosure of this document would reveal internal
                                       agency deliberations on particular issues related to the investigation and would also reveal the direction,
                                       progress, and focus of the investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees and private citizens involved in the investigation. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
145     6/18/2020        C06890069     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      3/11/2015    13         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5)
                                       personnel (names, email addresses). Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency                                                      (b)(6),
                                       deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to protect the                                              (b)(7(C)
                                       names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the
                                       names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of this document
                                       to determine whether meaningful, reasonably segregable, non‐exempt portions of the document could be
                                       released. This document is withheld in full because there is no meaningful, non‐exempt information that can be
                                       reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.
146     6/18/2020        C06890070     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      2/28/22014   12         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.

147     6/18/2020        C06890072     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      1/30/2014    10         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, intelligence activites, identifying information regarding Agency information systems).                                             (b)(3) NatSecAct,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names, email                                                     (b)(5),
                                       addresses). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                                   (b)(6),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(7(C)
                                       to next steps in more than one investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees involved in investigations. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as SECRET, and as such, disclosure of this information could be
                                       reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
148     6/18/2020        C06890074     Internal Agency Emails and OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security Act) apply 1/7/2014       10          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                               (b)(3) CIA Act,
                                       (covert personnel, covert locations, intelligence activites, identifying information regarding Agency information                                             (b)(3) NatSecAct,
                                       systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                 (b)(5)
                                       email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                             (b)(6),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(7(C)
                                       to next steps in more than one investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees involved in investigations. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as SECRET, and as such, disclosure of this information could be
                                       reasonably expected to result in serious damage to national security.
149     6/18/2020        C06890075     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      12/2/2013   10          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, telephone numbers, email addresses). Exemption (b)(3) (National Security Act) was also                                                      (b)(6),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(7(C)
                                       decisional intra‐agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was
                                       asserted to protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was
                                       asserted to protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.

150     6/18/2020        C06890076     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      11/4/2013   13          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, telephone numbers, email addresses). Exemption (b)(3) (National Security Act) was also                                                      (b)(6),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(7(C)
                                       decisional intra‐agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was
                                       asserted to protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was
                                       asserted to protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
151     6/18/2020        C06890077     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      10/28/2013   12         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.

152     6/18/2020        C06890078     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      9/30/2013    13         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, telephone numbers, email addresses). Exemption (b)(5) was asserted to protect pre‐                                                          (b)(6),
                                       decisional intra‐agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was                                              (b)(7(C)
                                       asserted to protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was
                                       asserted to protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.


153     6/18/2020        C06890079     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      9/26/2013    26         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
154     6/18/2020        C06890081     Internal Agency Emails and OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security Act) apply 9/4/2013       10          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                               (b)(3) CIA Act,
                                       (covert personnel, covert locations, intelligence activites, identifying information regarding Agency information                                             (b)(3) NatSecAct,
                                       systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                 (b)(5),
                                       email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                             (b)(6),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(7(C)
                                       to next steps in more than one investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees involved in investigations. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as SECRET, and as such, disclosure of this information could be
                                       reasonably expected to result in serious damage to national security.
155     6/18/2020        C06890167     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      7/29/2013   28          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as TOP SECRET, and as such, disclosure
                                       of this information could be reasonably expected to result in exceptionally grave damage to national security.

156     6/18/2020        C06890168     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      5/29/2013   13          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as TOP SECRET, and as such, disclosure
                                       of this information could be reasonably expected to result in exceptionally grave damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
157     6/18/2020        C06890169     Internal Agency Emails and OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security Act) apply 5/1/2013       12          DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods                                               (b)(3) CIA Act,
                                       (covert personnel, covert locations, intelligence activites, identifying information regarding Agency information                                             (b)(3) NatSecAct,
                                       systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names,                                                 (b)(5),
                                       email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect unclassified intelligences                                             (b)(6),
                                       sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related                                               (b)(7(C)
                                       to next steps in more than one investigation. Exemption (b)(6) was asserted to protect the names and/or other
                                       personal information of Agency personnel. Exemption (b)(7)(C) was asserted to protect the names of Agency
                                       employees involved in investigations. The CIA conducted a line‐by‐line review of this document to determine
                                       whether meaningful, reasonably segregable, non‐exempt portions of the document could be released. This
                                       document is withheld in full because there is no meaningful, non‐exempt information that can be reasonably
                                       segregated. This document is properly classified as TOP SECRET, and as such, disclosure of this information could
                                       be reasonably expected to result in exceptionally grave damage to national security.

158     6/18/2020        C06890170     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      3/26/2013   15          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5)
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.

159     6/18/2020        C06890171     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      2/27/2013   16          DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                      Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
160     6/18/2020        C06890172     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      1/31/2013    21         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.

161     6/18/2020        C06890173     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      1/7/2013     24         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, email addresses). Exemption (b)(3) (National Security Act) was also invoked to protect                                                      (b)(6),
                                       unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐decisional intra‐                                                (b)(7(C)
                                       agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was asserted to
                                       protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was asserted to
                                       protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line review of
                                       this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.

162     6/18/2020        C06890174     Internal Agency Emails and Draft of OIG Sensitive Case Report. Exemption (b)(1) and (b)(3) (National Security      11/27/2012   36         DIF                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                            (b)(3) CIA Act,
                                       methods (covert personnel, covert locations, intelligence activites, identifying information regarding Agency                                                 (b)(3) NatSecAct,
                                       information systems). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA                                                       (b)(5),
                                       personnel (names, telephone numbers, email addresses). Exemption (b)(3) (National Security Act) was also                                                      (b)(6),
                                       invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was asserted to protect pre‐                                              (b)(7(C)
                                       decisional intra‐agency deliberations related to next steps in more than one investigation. Exemption (b)(6) was
                                       asserted to protect the names and/or other personal information of Agency personnel. Exemption (b)(7)(C) was
                                       asserted to protect the names of Agency employees involved in investigations. The CIA conducted a line‐by‐line
                                       review of this document to determine whether meaningful, reasonably segregable, non‐exempt portions of the
                                       document could be released. This document is withheld in full because there is no meaningful, non‐exempt
                                       information that can be reasonably segregated. This document is properly classified as SECRET, and as such,
                                       disclosure of this information could be reasonably expected to result in serious damage to national security.




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Entry
          FOIA Request     CADRE No.                             Description of Document and Information Withheld                                   Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
163     6/18/2020        CO6615245     Memorandum of Investigative Activity/CIA Employee. Exemption (b)(1) and (b)(3) (National Security Act) apply 11/14/2012    4           DIF                (b)(1),
                                       to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence methods and activities.                                       (b)(3) CIA Act,
                                       Exemption (b)(3) (CIA Act) was asserted to protect identifying information of CIA personnel (names). Exemption                                            (b)(3) NatSecAct,
                                       (b)(3) (National Security Act) was also invoked to protect unclassified intelligences sources and methods.                                                (b)(5),
                                       Exemption (b)(5) was asserted to protect pre‐decisional intra‐agency deliberations related to the investigation.                                          (b)(6),
                                       Disclosure would reveal the direction, progress, and focus of the investigation. Exemption (b)(6) was asserted to                                         (b)(7)(C),
                                       protect the names and/or other personal information of Agency personnel and private citizens. Exemption                                                   (b)(7)(D)
                                       (b)(7)(C) was asserted to protect the names of Agency employees and private citizens involved in the
                                       investigation. Exemption (b)(7)(D) was also asserted to protect identifying information of, and information
                                       provided by individuals interviewed in the course of the investigation who were speaking with Agency OIG under
                                       an implied promise of confidentiality per Agency policy. The CIA conducted a line‐by‐line review of this
                                       document to determine whether meaningful, reasonably segregable, non‐exempt portions of the document
                                       could be released. This document is withheld in full because there is no meaningful, non‐exempt information
                                       that can be reasonably segregated. This document is properly classified as SECRET, and as such, disclosure of this
                                       information could be reasonably expected to result in serious damage to national security.



164     6/18/2020        C06615284     OIG Memorandum of Investigative Activity. Exemption (b)(3) (National Security Act) applies to certain material 2/19/2013   1           RIP                (b)(3) CIA Act,
                                       that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and methods (classification and                                           (b)(3) NatSecAct,
                                       dissemination control markings). Exemption (b)(3) (CIA Act) was asserted to protect identifying information of                                            (b)(6),
                                       CIA personnel (names and telephone numbers). Exemption (b)(3) (National Security Act) was asserted to protect                                             (b)(7)(C)
                                       unclassified intelligences sources and methods. Exemption (b)(6) was asserted to protect the names of Agency
                                       employees. Exemption (b)(7)(C) was asserted to protect the names of Agency employees involved in the
                                       investigation.

165     6/18/2020        C06615314     Letter from OIG to FBI Investigations Concerning CIA Documents. Exemption (b)(1) and (b)(3) (National Security 5/14/2013   16          RIP                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                        (b)(3) CIA Act,
                                       methods (code names and names of covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect                                                    (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names and agency identification numbers). Exemption (b)(3) (National                                            (b)(5),
                                       Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was                                            (b)(6),
                                       asserted to protect pre‐decisional inter‐agency deliberations related to interactions with DOJ. Exemption (b)(6)                                          (b)(7)(C),
                                       was asserted to protect the names of Agency and non‐Agency federal employees. Exemption (b)(7)(C) was                                                     (b)(7)(D)
                                       asserted to protect the names of Agency and non‐Agency federal employees involved in the investigation.
                                       Exemption (b)(7)(D) was also asserted to protect identifying information of, and information provided by
                                       individuals interviewed in the course of the investigation who were speaking with Agency OIG under an implied
                                       promise of confidentiality per Agency policy. This document is properly classified as SECRET, and as such,
                                       disclosure of the information withheld pursuant to Exemption (b)(1) could be reasonably expected to result in
                                       serious damage to national security.




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Entry
          FOIA Request     CADRE No.                              Description of Document and Information Withheld                                   Date of Doc. No. of Pages Release Decision    Examptions Cited
 No.
166     6/18/2020        C06615320     Letter from OIG to FBI Investigations Concerning CIA Documents. Exemption (b)(1) and (b)(3) (National Security 4/16/2013     10         RIP                (b)(1),
                                       Act) apply to certain material that is classified under 1.4(c) of E.O. 13526 and reflects intelligence sources and                                         (b)(3) CIA Act,
                                       methods (code names and names of covert personnel). Exemption (b)(3) (CIA Act) was asserted to protect                                                     (b)(3) NatSecAct,
                                       identifying information of CIA personnel (names and agency identification numbers). Exemption (b)(3) (National                                             (b)(5),
                                       Security Act) was also invoked to protect unclassified intelligences sources and methods. Exemption (b)(5) was                                             (b)(6),
                                       asserted to protect pre‐decisional inter‐agency deliberations related to interactions with DOJ. Exemption (b)(6)                                           (b)(7)(C),
                                       was asserted to protect the names of Agency and non‐Agency federal employees. Exemption (b)(7)(C) was                                                      (b)(7)(D)
                                       asserted to protect the names of Agency and non‐Agency federal employees involved in the investigation.
                                       Exemption (b)(7)(D) was also asserted to protect identifying information of, and information provided by
                                       individuals interviewed in the course of the investigation who were speaking with the understanding of implied
                                       confidentiality per Agency policy. This document is properly classified as SECRET, and as such, disclosure of the
                                       information withheld pursuant to Exemption (b)(1) could be reasonably expected to result in serious damage to
                                       national security.

167     6/18/2020        C06615364     Inter‐agency emails regarding suspicious email. Exemption (b)(3) (CIA Act) was asserted to protect identifying  11/14/2012   3          RIP                (b)(3) CIA Act,
                                       information of CIA personnel (names, email addresses, titles). Exemption (b)(6) was asserted to protect the                                                (b)(6),
                                       names of Agency employees. Exemption (b)(7)(C) was asserted to protect the names of federal employees and                                                  (b)(7)(C),
                                       private citizens involved in the investigation. Exemption (b)(7)(D) was also asserted to protect identifying                                               (b)(7)(D),
                                       information of, and information provided by individuals interviewed in the course of the investigation who were                                            (b)(7)(E)
                                       speaking with the understanding of implied confidentiality. Exemption (b)(7)(E) was asserted to protect
                                       investigation techniques and procedures used by the FBI.




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                                         Central Intelligence Agency




                                           Washington, D.C. 20505



  15 June 2020


  Mr. Ty Clevenger
  The Transparency Project
  P.O. Box 20753
  Brooklyn, NY 11202-0753

  Reference: F-2020-01504

  Dear Mr. Clevenger:

  On 29 May 2020, the office of the Information and Privacy Coordinator received your
  28 May 2020 correspondence, on behalf of The Transparency Project, requesting records under
  the Freedom of Information Act (FOIA). This is a quick acknowledgement to advise you that we
  received your request for records on the “2016 Data Breach” [as identified in your request].
  Your request was assigned the reference number above. Please use this number when
  corresponding so that we can identify it easily.

  Our officers will review and process your request in more detail and will only communicate to
  you if they should encounter any problems or if they cannot begin the search without additional
  information or clarification. Unless you object, we will search for CIA-originated records up to
  and including the date the Agency starts its search. To check the status of your FOIA request,
  please access https://www.cia.gov/library/readingroom/request/status on the Agency’s website
  and enter the above reference number.

  Sincerely,



  Mark Lilly
  Information and Privacy Coordinator
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